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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  UNITED STATES CONFERENCE OF
  CATHOLIC BISHOPS,

                             Plaintiff,

  v.                                                      Case No. 1:25-cv-465-TNM

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                             Defendants.

                                      NOTICE OF APPEAL

       Notice is given this March 12, 2025, that the United States Conference of Catholic Bishops

(“USCCB”) appeals to the United States Court of Appeals for the District of Columbia Circuit

from this Court’s Order, ECF No. 37, denying USCCB’s Motion for Preliminary Injunction.

  March 12, 2025                                    Respectfully submitted,

                                                    /s/ David W. Casazza

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